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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

     ASSOCIATION OF PROFESSIONAL                   §
     BALL PLAYERS OF AMERICA,                      §
         Plaintiff,                                §
                                                   §
     v.                                            §   Civil Action No. 4:23-cv-1037
                                                   §
     JENNIFER S. MADISON AND NATE                  §
     MILLER AND DOES 1 – 25,                       §
         Defendants.                               §

                    DEFENDANT NATE MILLER’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

          COME NOW, NATE MILLER, a Defendant in the above entitled and numbered cause,

and file this, his Original Answer, and for same would respectfully show unto the Court as follows:

                                I.      ADMISSIONS AND DENIALS

          Defendant responds to the individually numbered paragraphs of Plaintiff’s Original

Complaint as follows:

                                              PARTIES

1.        Defendant lacks knowledge or information sufficient to form a belief about the truth of the

allegations in Paragraph 1.

2.        Defendant admits the allegations in Paragraph 2.

3.        Defendant lacks knowledge or information sufficient to form a belief about the truth of

Defendant Madison’s residence and address, and Defendant denies the remaining allegations in

Paragraph 3.

                                     JURISDICTION AND VENUE

4.        Defendant admits the allegations in Paragraph 4.

5.        Defendant admits the Court has personal jurisdiction over him, but otherwise denies the

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remaining allegations in Paragraph 5.

6.       Defendant admits the Court has personal jurisdiction over him, but otherwise denies the

remaining allegations in Paragraph 6.

                             FACTS COMMON TO ALL CLAIMS

7.       Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 7.

8.       Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 8.

9.       Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 9.

10.      Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 10.

11.      Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 11.

12.      Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 12.

13.      Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 13.

14.      Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 14.

15.      Defendant denies the allegations in Paragraph 15.

16.      Defendant denies the allegations in Paragraph 16.




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      CLAIM ONE: INFRINGEMENT OF FEDERALLY REGISTERED TRADEMARK

17.      Defendant denies the allegations in Paragraph 17.

18.      Defendant denies the allegations in Paragraph 18.

19.      Defendant denies the allegations in Paragraph 19.

20.      Defendant denies the allegations in Paragraph 20.

21.      Defendant denies the allegations in Paragraph 21.

  CLAIM TWO: INFRINGEMENT OF COMMON LAW RIGHTS IN TRADEMARKS
                        AND TRADE NAME

22.      Defendant denies the allegations in Paragraph 22.

23.      Defendant denies the allegations in Paragraph 23.

24.      Defendant denies the allegations in Paragraph 24.

       CLAIM THREE: VIOLATION OF THE TEXAS ANTI-DILUTION STATUTE

25.      Paragraph 25 does not contain any specific allegations which require an answer.

26.      Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 26.

27.      Defendant denies the allegations in Paragraph 27.

28.      Defendant denies the allegations in Paragraph 28.

       CLAIM FOUR: FALSE DESIGNATION OF ORIGIN UNDER 15 U.S.C. §1125(a)

29.      Defendant denies the allegations in Paragraph 29.

30.      Defendant denies the allegations in Paragraph 30.

        CLAIM FIVE: INJURY TO BUSINESS REPUTATION OR TRADEMARKS

31.      Defendant denies the allegations in Paragraph 31.

32.      Defendant denies the allegations in Paragraph 32.

                  CLAIM SIX: COMMON LAW UNFAIR COMPETITION

33.      Defendant denies the allegations in Paragraph 33.
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                                      INJUNCTIVE RELIEF

34.      Defendant denies the allegations in Paragraph 34.

35.      Defendant denies the allegations in Paragraph 35.

                               II.     AFFIRMATIVE DEFENSES

36.      Defendant affirmatively pleads the doctrines of fair use and collateral use.

37.      Defendant affirmatively pleads the defense of estoppel.

38.      Defendant affirmatively pleads that Plaintiff failed to mitigate its damages, if any.

                                      III.    JURY DEMAND

39.      Defendant demands a jury trial in accordance with Federal Rule of Civil Procedure 38 and

the Seventh Amendment of the United States Constitution.

                                              PRAYER

         WHEREFORE PREMISES CONSIDERED, Defendant prays that Plaintiff take nothing

by its suit, that Defendant goes hence with his costs without delay, and for such other and further

relief, both general and special, at law or in equity, to which Defendant may show himself justly

entitled.

                                               Respectfully submitted,

                                               THE PETERS FIRM, PLLC

                                               /S/ Drew T. Peters

                                               DREW T. PETERS
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                                               NATE MILLER

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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been
electronically served via the Court’s CM/ECF system upon all counsel or parties of record in this
proceeding on January 30, 2024.


                                                    /S/ Drew T. Peters

                                                    DREW T. PETERS




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